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                                                                   1    Jeffrey W. Dulberg (CA Bar No. 181200)
                                                                        Teddy M. Kapur (CA Bar No. 242486)
                                                                   2    PACHULSKI STANG ZIEHL & JONES LLP
                                                                        10100 Santa Monica Blvd., 13th Floor
                                                                   3    Los Angeles, CA 90067
                                                                        Telephone: 310/277-6910
                                                                   4    Facsimile: 310/201-0760
                                                                        E-mail: jdulberg@pszjlaw.com
                                                                   5             tkapur@pszjlaw.com

                                                                   6    Counsel to the Official Committee of
                                                                        Unsecured Creditors
                                                                   7

                                                                   8
                                                                                                    UNITED STATES BANKRUPTCY COURT
                                                                   9
                                                                                                     CENTRAL DISTRICT OF CALIFORNIA
                                                                  10
                                                                                                            LOS ANGELES DIVISION
                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                        In re:                                             Case No.: 2:21-bk-16674-ER
                                                                  12
                                                                        JINZHENG GROUP (USA) LLC,                          Chapter 11
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                  14               Debtor and Debtor in Possession.        NOTICE TO ESTATE PROFESSIONALS RE
                                                                                                                           SETTING OF HEARING ON INTERIM
                                                                  15                                                       APPLICATIONS FOR COMPENSATION
                                                                                                                           AND REIMBURSEMENT OF EXPENSES
                                                                  16
                                                                                                                           [Local Bankruptcy Rule 2016-1(a)]
                                                                  17
                                                                                                                           Date: November 9, 2022
                                                                  18                                                       Time: 10:00 a.m.
                                                                                                                           Place: Courtroom 1568
                                                                  19                                                              U.S. Bankruptcy Court
                                                                                                                                  255 E. Temple Street
                                                                  20                                                              Los Angeles, CA 90012
                                                                  21             PLEASE TAKE NOTICE that a hearing will be held on November 9, 2022, at 10:00 a.m.
                                                                  22   in Courtroom 1568, 255 East Temple Street, Los Angeles, California, for the Court to consider the
                                                                  23   applications (the “Applications”) of professionals employed in the above-captioned case (the
                                                                  24   “Professionals”) for interim approval of compensation and reimbursement of expenses.
                                                                  25             PLEASE TAKE FURTHER NOTICE that other professionals persons retained pursuant to
                                                                  26   court approval may seek approval of interim fees at this hearing, provided that they file and serve
                                                                  27   their Applications in a timely manner. Unless otherwise ordered by the court, hearings on interim
                                                                  28   fee applications will not be scheduled less than 120 days apart.


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                                                                   1           PLEASE TAKE FURTHER NOTICE that Pachulski Stang Ziehl & Jones LLP (“PSZJ”),

                                                                   2   counsel to the Official Committee of Unsecured Creditors of Jinzheng Group (USA) LLC, will be

                                                                   3   filing and serving a notice (the “Notice”) of its application for interim approval of fees and expenses.

                                                                   4   If any Professional wishes for PSZJ to include in the Notice the amount of interim fees and expenses

                                                                   5   that such Professional will be requesting, such party must furnish this information to Beth D. Dassa,

                                                                   6   Pachulski Stang Ziehl & Jones LLP, 10100 Santa Monica Blvd., 13th Floor, Los Angeles, California

                                                                   7   90067, Telephone: 310.277.6910, email: bdassa@pszjlaw.com, no later than October 18, 2022.

                                                                   8   Otherwise, any Professional seeking approval of fees and expenses at the hearing will be required to

                                                                   9   file and serve its own notice.

                                                                  10
                                                                        Dated:     August 25, 2022                  PACHULSKI STANG ZIEHL & JONES LLP
                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12                                                By        /s/ Jeffrey W. Dulberg
                                                                                                                              Jeffrey W. Dulberg
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                          Teddy M. Kapur
                                           ATTORNEYS AT LAW




                                                                  14                                                          Counsel to the Official Committee of
                                                                                                                              Unsecured Creditors
                                                                  15

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                                           PROOF OF SERVICE OF DOCUMENT
 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                           10100 Santa Monica Boulevard, 13th Floor, Los Angeles, CA 90067

 A true and correct copy of the foregoing document entitled (specify): NOTICE TO ESTATE PROFESSIONALS RE
 SETTING OF HEARING ON INTERIM APPLICATIONS FOR COMPENSATION AND REIMBURSEMENT OF EXPENSES
 will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
 the manner stated below:

 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
 Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 August 25, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
 following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                           Service information continued on attached page

 2. SERVED BY UNITED STATES MAIL:
 On (date) August 25, 2022, I served the following persons and/or entities at the last known addresses in this bankruptcy
 case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
 class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
 will be completed no later than 24 hours after the document is filed.


                 JINZHENG GROUP (USA) LLC                                           Michael Douglas Carlin
                 1414 S. Azusa Avenue, Suite B-22                                   Post Office Box 67132
                 West Covina, CA 91791                                              Los Angeles, CA 90067

                                                                                           Service information continued on attached page

 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
 each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) August 25, 2022, I served the
 following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
 service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
 personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

             VIA FEDERAL EXPRESS
             United States Bankruptcy Court
             Central District of California
             Attn: Hon. Ernest Robles
             Edward R. Roybal Federal Bldg./Courthouse
             255 East Temple Street, Suite 1560
             Los Angeles, CA 90012
                                                                                           Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 August 25, 2022               Nancy H. Brown                                                  /s/ Nancy H. Brown
 Date                          Printed Name                                                    Signature




             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                                          F 9013-3.1.PROOF.SERVICE
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SERVICE INFORMATION FOR CASE NO. 2:21-bk-16674-ER
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

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         David Samuel Shevitz david@shevitzlawfirm.com,
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         United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
         Hatty K Yip hatty.yip@usdoj.gov, hatty.k.yip@usdoj.gov




2.        TO BE SERVED BY EMAIL

         Gene H. Shioda – ghs@slclawoffice.com
         Steven P. Chang – schang@slclawoffice.com
         Donald W. Reid – don@donreidlaw.com
         Damian J. Martinez - damian.martinez@aalrr.com




     This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                             F 9013-3.1.PROOF.SERVICE
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